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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
      STUART REGES,                                      CASE NO. 2:22-cv-00964-JHC
 8
                            Plaintiff,                   ORDER RE: DEFENDANTS’ MOTION TO
 9
                                                         DISMISS AND CROSS-MOTIONS FOR
             v.                                          SUMMARY JUDGMENT
10
      ANA MARI CAUCE et al.,
11
                            Defendants.
12

13

14                                                   I

15                                           INTRODUCTION

16          The University of Washington (UW) states that it “acknowledges that the Coast Salish

17   peoples remain part of the community in the Puget Sound region” and “seeks to provide a

18   welcoming environment for indigenous people—particularly Native students who would attend

19   the University.” Pursuing this goal, UW’s Paul G. Allen School of Computer Science and

20   Engineering (Allen School) suggested that its faculty include an “Indigenous Land

21   Acknowledgment Statement” in their syllabi.

22
            Plaintiff, a faculty member of the Allen School, drafted his own acknowledgment
23
     statement, which says, “I acknowledge that by the labor theory of property the Coast Salish
24
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 1   people can claim historical ownership of almost none of the land currently occupied by the

 2   University of Washington.” Plaintiff placed this statement outside his faculty office door,

 3   included it at the bottom of his emails, and discussed it with colleagues. However—and central

 4   to this case—he also included it in the syllabus for Computer Science and Engineering 143:

 5   Computer Programming II (CSE 143), a required course for certain majors. Significant

 6   disruption ensued. The Allen School removed the statement from the syllabus and commenced

 7   investigatory proceedings.

 8          The Court agrees with Plaintiff that, under the law, his speech—i.e., his acknowledgment
 9   statement in the syllabus—“related to scholarship or teaching.” But the Court agrees with
10   Defendants that, despite this status, under Pickering v. Board of Education, 1 the disruption
11   caused by Plaintiff’s speech rendered it unprotected. To be sure, in Pickering, the Supreme
12   Court recognized that “the interest of the State, as an employer, in promoting the efficiency of
13   the public services it performs through its employees” may in some cases outweigh “the interests
14   of the teacher, as a citizen, in comment upon matters of public concern.”
15
            For these reasons, and those discussed below, the Court DENIES Defendants’ motion to
16
     dismiss (Dkt. # 50) as to Plaintiff’s retaliation and viewpoint discrimination claims; GRANTS
17
     Defendants’ motion to dismiss (Dkt. # 50) as to the facial overbreadth and vagueness challenges
18
     to EO 31; DENIES Plaintiff’s motion for summary judgment (Dkt. # 60); and GRANTS
19
     Defendants’ motion for summary judgment (Dkt. # 64) as to the retaliation and viewpoint
20
     discrimination claims.
21

22

23

24          1
                391 U.S. 563, 88 S. Ct. 1731, 20 L.Ed.2d 811 (1968).
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     AND CROSS-MOTIONS FOR SUMMARY
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 1                                                     II
                                                  BACKGROUND
 2

 3          Plaintiff brings a claim for First Amendment viewpoint discrimination against all

 4   individual-capacity Defendants, 2 a First Amendment retaliation claim under 42 U.S.C. § 1983

 5   against all individual-capacity Defendants and all Defendants in their official capacities, 3 and a

 6   facial overbreadth challenge and facial vagueness challenge to EO 31 against Ana Marie Cauce,

 7   President of UW, in her official capacity.

 8          Plaintiff is a faculty member at the Allen School. Dkt. # 46 at 9. He has taught there

 9   since 2004 as a Principal Lecturer and a Teaching Professor. Id.

10
            UW states that it “acknowledges that the Coast Salish peoples remain part of the
11
     community in the Puget Sound region” and “seeks to provide a welcoming environment for
12
     indigenous people—particularly Native students who would attend the University.” Dkt. # 64 at
13
     6 (citing Dkt. # 70 at 2). Consistent with this goal, the Allen School released a document, “Allen
14
     School best practices for inclusive teaching,” which suggests that faculty include an “Indigenous
15
     Land Acknowledgment Statement” in their syllabi. Dkt. # 46 at 12. An example statement
16
     provided by the Allen School says, “The University of Washington acknowledges the Coast
17
     Salish peoples of this land, the land which touches the shared waters of all tribes and bands
18
     within the Suquamish, Tulalip and Muckleshoot nations.” Id. This statement resulted from “a
19
     years-long process in which University officials worked with the Governor’s Office of Indian
20

21

22          2
               These include Magdalena Balazinska, Director of the Allen School; Dan Grossman, Vice
     Director of the Allen School; and Nancy Allbritton, Dean of the College of Engineering at UW. Dkt. # 46
23   at 10–11.
             3
               These include Ana Marie Cauce, President of UW; Magdalena Balazinska; Dan Grossman; and
24   Nancy Allbritton. Dkt. # 46 at 10–11.
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 1   Affairs, Tribal leaders from throughout the state and region, and other stakeholders.” Dkt. # 70

 2   at 2.

 3           The “best practices for inclusive teaching” document does not mandate including any
 4   statement in syllabi. Dkt. # 68 at 2. 4 Some examples of other suggested statements included in
 5   the document are “[a] statement that [the] class welcomes all students of all backgrounds” 5 and
 6   “[a] statement about accommodating students’ needs and pointing to [Disability Resources for
 7   Students] for disability accommodations[.]” 6 Id. at 5–6.
 8
             Plaintiff prepared his own acknowledgment statement, which provides, “I acknowledge
 9
     that by the labor theory of property the Coast Salish people can claim historical ownership of
10
     almost none of the land currently occupied by the University of Washington.” Dkt. # 46 at 13.
11
     He included this statement in the Winter 2022 syllabus for CSE 143, a required course for certain
12
     majors at the Allen School. Dkt. # 66 at 31. Plaintiff testified that he “intended to make fun of
13
     land acknowledgments.” Dkt. # 65 at 29. He said, “I knew people would be upset by what I was
14
     doing.” Id. at 55. And he said, “I was causing trouble on purpose[.]” Id. Plaintiff also included
15
     his acknowledgment statement outside his faculty office door and at the bottom of his emails,
16

17

18           4
                The document acknowledges that the UW’s syllabi guidelines include a required statement
     about accommodating students’ religions. Dkt. # 68 at 6.
19            5
                “An example statement: This course welcomes all students of all backgrounds. The computer
     science and computer engineering industries have significant lack of diversity. This is due to a lack of
20   sufficient past efforts by the field toward even greater diversity, equity, and inclusion. The Allen School
     seeks to create a more diverse, inclusive, and equitable environment for our community and our field.
21   You should expect and demand to be treated by your classmates and the course staff with respect. If any
     incident occurs that challenges this commitment to a supportive, diverse, inclusive, and equitable
22   environment, please let the instructor know so the issue can be addressed.” Dkt. # 68 at 5.
              6
                “An example statement: Embedded in the core values of the University of Washington is a
     commitment to ensuring access to a quality higher education experience for a diverse student population.
23   Disability Resources for Students (DRS) recognizes disability as an aspect of diversity that is integral to
     society and to our campus community. DRS serves as a partner in fostering an inclusive and equitable
24   environment for all University of Washington Students. . . .” Dkt. # 68 at 5–6.
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 1   and he has discussed the statement with colleagues—all with no limitation by UW. Dkt. # 65 at

 2   25, 26, 43–44, and 46.

 3          The CSE 143 class for winter 2022 first met on January 3, 2022, and students accessed
 4   the syllabus then. Dkt. # 46 at 13. In response to Plaintiff’s acknowledgment statement in the
 5   syllabus, students, faculty, staff, and teaching assistants contacted UW administrators. For
 6   example, the Allen School’s recruiter for diversity and access, Kayla Shuster, expressed concern
 7   to Defendant Balazinska that Plaintiff’s statement undermined their function within the Allen
 8   School. Dkt. # 66 at 31. Defendants also received emails from students. On the first day of
 9   class, a student in the course submitted an official complaint, expressing that they felt
10   “intimidated” and “already do not feel welcome in this class, nor do I feel like I will be
11   supported and led to be successful in this required course for my major.” Dkt. # 66 at 15.
12
            In the early afternoon of January 4, 2022, six students “representing the ‘DEI Student
13
     Committee’” emailed Yoshi Kohno, the school’s assistant director for DEI. Dkt. # 66 at 17–18.
14
     The students said that Plaintiff’s statement “clearly contradicts the Allen School’s promise for
15
     creating an inclusive environment.” Id.
16
            On January 4, at 3:40 PM, after receiving responses from members of the UW
17
     community about the statement, Defendant Balazinska requested via email that Plaintiff remove
18
     the statement from the syllabus stating it was “offensive” and caused a “toxic environment.”
19
     Dkt. # 46 at 13; Dkt. # 66 at 11. She said, “You are welcome to voice your opinion and
20
     opposition to land acknowledgments, as you have, in other settings. The current statement in
21
     your course syllabus is inappropriate and must be removed.” Id. Plaintiff refused. Dkt. # 63 at
22
     5. Defendant Balazinska worked with Information Technology (IT) to have the statement
23
     removed from the syllabus and an updated syllabus uploaded to UW’s class portal. Dkt. # 46 at
24
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 1   14; Dkt. # 62-6 at 37. Later that day, Plaintiff wrote in his journal, “I’m shaking all over. It’s

 2   partly because it’s cold, but it’s more because the shit has hit the fan over my land

 3   acknowledgment and now it’s getting very real.” Dkt. # 76-5 at 5.

 4          Later that day, UW received a complaint through the “anonymous student feedback
 5   form.” Dkt. # 66 at 16–19. It described Plaintiff’s statement as “factually wrong, intentionally
 6   inflammatory, and trauma-mocking[,]” which “tarnishes the reputation of the Allen School.” Id.
 7   at 17. The student expressed that “[h]aving a professor like this, with a history of misogynistic
 8   and racist statements, and who places statements like this in their course policies, signals an
 9   environment in our department which I do not think aligns with our department’s goals of being
10   inclusive.” Id.
11
            On January 5, Defendant Balazinska alerted the students and staff of the 2022 winter
12
     quarter CSE 143 class of the updated course syllabus and expressed her confidence that “[i]n
13
     spite of this incident” everyone “can expect to be treated fairly and respectfully in this class[]”
14
     and stated that “[i]f anyone has experiences to the contrary, I encourage you to submit a
15
     complaint” through one of several channels. Dkt. # 62-17 at 2.
16
            In the early morning of January 6, Defendant Balazinska said to Plaintiff in an email,
17
     “Because the current text under ‘Indigenous Land Acknowledgement’ in your CSE 143 syllabus
18
     is causing a disruption to instruction in your class and because it is not related to course content,
19
     it needs to be removed.” Dkt. # 62-18 at 2. She informed Plaintiff that the statement was
20
     removed from the syllabus and that IT added an updated syllabus to the course website. Id.
21

22          Also on January 6, 2022, Defendants Balazinska and Grossman received an email from

23   Chloe Dolese Mandeville, Assistant Director for Diversity & Access (D&A), who wrote on

24
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 1   behalf of the D&A team and shared their concerns of the impact that the statement will have on

 2   prospective students, current students, and staff. Dkt. # 66 at 26–27.

 3          The same day, two students—one of whom self-identified as Native—separately emailed
 4   Defendant Balazinska and Assistant Director Kohno. Dkt. # 66 at 20. These emails discuss the
 5   alienating nature of Plaintiff’s statement. Id. at 20–21. One student shared that Plaintiff’s
 6   statement made them feel “so directly despised and unsafe that I’m certain if I hadn’t transferred
 7   in I wouldn’t be at the Paul Allen school right now[.]” Id. at 20.
 8
            On January 7, the Allen School opened an alternate section of Plaintiff’s CSE 143 course,
 9
     which was taught by a different faculty member. Dkt. # 46 at 15–16. Around 170 students out
10
     of around 500 students transferred to this alternate section, which started at eight o’clock in the
11
     morning. Dkt. # 65 at 51; Dkt. # 75 at 31; Dkt. # 69 at 6.
12
            In February 2022, Plaintiff emailed the Allen School’s diversity-allies listserv—
13
     accessible by both students and faculty—explaining his intent to continue including his land
14
     acknowledgment statement in syllabi in Spring 2022. Dkt. # 46 at 17; Dkt. # 66 at 3.
15

16          Defendant Balazinska then received an email from UAW 4121 union representatives,

17   representing CSE academic student employees (ASEs), expressing concerns that Plaintiff’s

18   statement and intention to continue including the statement in future syllabi violated the

19   antidiscrimination provision (Article 20) in the union’s collective-bargaining agreement with

20   UW. Dkt. # 64 at 9; Dkt. # 66 at 33–34. The email requests that UW “take prompt action to

21   address this behavior, to align with both Article 20 of the contract and the Allen School’s

22   stated commitment to Diversity, Equity, and Inclusion.” Id. at 34 (emphasis in original). As

23   a result of this complaint and the other complaints UW administrators received following

24   Plaintiff’s inclusion of his statement in the CSE 143 syllabus, Defendant Balazinska initiated
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 1   UW’s Faculty Code Section 25-71 process on March 2, 2022. Dkt. # 46 at 18; Dkt. # 66 at 3,

 2   42–44. She wrote to Plaintiff, “The allegations, if true, may constitute a violation of Executive

 3   Order 31, which prohibits discrimination or harassment against a member of the University

 4   community.” Dkt. # 66 at 42.

 5           The Faculty Code Section 25-71 process governs when a member of the academic
 6   community is “alleged to have violated a rule or regulation of the University, its schools,
 7   colleges, or departments.” Dkt. # 65 at 87–89. Here, this process first required a meeting
 8   between Plaintiff, his counsel, Defendant Grossman, and Defendant Balazinska to “discuss
 9   allegations that ‘may, if true, constitute a violation of’ several University policies, including
10   University of Washington Executive Order 31.” Dkt. # 46 at 18; see also Dkt. # 62-32.
11   Executive Order 31 (EO 31) is the UW’s Nondiscrimination and Affirmative Action policy and
12   has a “goal of promoting an environment that is free of discrimination, harassment, and
13   retaliation.” 7
14
             Defendant Balazinska, Defendant Grossman, Plaintiff, and his counsel met on March 8,
15
     2022. Dkt. # 46 at 18. During this meeting, Defendant Balazinska and Defendant Grossman
16
     explained that “they continued to receive student complaints about his statement and expected
17
     further disruption to his classes as a result.” Dkt. # 50 at 9–10 (citing Dkt. # 46 at 18–19).
18
     Defendant Balazinska also told Plaintiff that “she expected faculty to ‘interact respectfully’ and
19
     create a ‘welcoming,’ ‘professional,’ and ‘positive’ environment.” Dkt. # 46 at 18.
20

21

22

23           7
              UW EO 31: Nondiscrimination and Affirmative Action (updated Aug. 14, 2020)
     https://www.washington.edu/admin/rules/policies/PO/EO31.html (cited by Defendants at Dkt. # 50 at 9
24   n.3).
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 1           On March 9, 2022, Defendant Balazinska sent Plaintiff a proposed resolution that

 2   included, among other things, a provision that Plaintiff would “agree not to include . . . [his]

 3   version of the land acknowledgment that was published in the [Computer Science and

 4   Engineering] 143 Winter 2022 online course syllabus in . . . future course syllabi.” Dkt. # 46 at

 5   19–20. The next day, Plaintiff declined the proposed resolution. Id. As a result, Defendant

 6   Balazinska continued the Section 25-71 process and referred the matter to Dean Allbritton. Dkt.

 7   # 66 at 4.

 8           Defendant Allbritton then arranged a meeting with Plaintiff, step two of the process under
 9   Faculty Code Section 25-71.D. Dkt. # 46 at 20. This meeting occurred on March 25, 2022. Id.
10   On April 21, 2022, Defendant Allbritton informed Plaintiff that she planned to proceed with
11   formal charges against him and that a special investigating committee would convene to “look
12   into this matter” under University Faculty Code Section 25-71.D.3. Id. at 21. While the
13   committee was being assembled, Plaintiff included his statement in the syllabi for courses he
14   taught in the spring 2022 quarter. Id. The Allen School did not remove the statement from those
15   syllabi but did offer an alternate section of the CSE 143. Id.
16
             The committee formally began its investigation on July 11, 2022. Dkt. # 46 at 22.
17
     Plaintiff then started this lawsuit on July 13, 2022. Id. The investigation was “placed on hold”
18
     on August 25, 2022. Id. But on September 28, 2022, “the senior director of human resources
19
     wrote to the members of the special investigating committee, copying Dean Allbritton, to inform
20
     them that the investigation was no longer on hold and to ask them to report orally to the Dean as
21
     soon as possible.” Id. at 23.
22
             On June 13, 2023, Defendant Allbritton informed Plaintiff via letter of the investigation’s
23
     conclusions. Defendant Allbritton stated that Plaintiff’s land acknowledgment statement
24
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 1   “created an immediate and significant disruption to the University teaching environment.” Dkt.

 2   # 46 at 23. The committee reached their conclusions “based on multiple interviews with directly

 3   affected parties … and on review of contemporaneous documents and [Reges’s] public

 4   statements[.]” Dkt. # 50 at 10 (quoting Dkt. # 51 at 10–11). Despite these conclusions,

 5   Defendant Allbritton “decline[d] to impose any sanction[.]” Dkt. # 51 at 14. Defendant

 6   Allbritton explained,

 7          This forbearance is because, while your actions have been rationally viewed by
            many in the community, including students and faculty, to be intended as a political
 8          stunt in an effort at self aggrandizement, I will not at this time fully discount your
            assertion that your actions were intended to generate discussion, rather than merely
 9          to denigrate members of the community and cause disruption to garner attention for
            yourself. It is clear, though, that your land acknowledgment statement has, in fact,
10          caused significant disruption and will likely continue to do so when included in a
            purely academic setting, such as on a syllabus or in connection with the teaching of
11          computer science courses. And there can be no question that you are now fully
            aware of that disruption. As a result, if you include this statement in the future, and
12          if that inclusion leads to further disruption, I will have no option but to conclude
            that your intent is to cause deliberate offense and further that disruption, and view
13          that as an intentional violation of Executive Order 31, as well as Section 24-33 of
            the Faculty Code. In that event, the University will proceed with next steps in
14          accordance with the Faculty Code. You are, of course, free to continue to express
            your political views (including by publicizing your land acknowledgment
15          statement) in other ways and in other venues that are not disruptive to the academic
            mission of the University, as you have done in the past.
16
     Id. at 14–15. At the investigation’s conclusion, Plaintiff’s merit pay, which “ha[d] been
17
     automatically held in abeyance pending th[e] investigation in accordance to University policy,
18
     [was] reinstated and [Plaintiff] receive[d] merit for AY 2021-22 and AY 2022-23.” Id. at 14.
19

20          Plaintiff filed his amended complaint on August 2, 2023. Dkt. # 46. Defendants

21   moved to dismiss for failure to state a claim. Dkt. # 50. While that motion was pending,

22   the parties continued with discovery and then cross-moved for summary judgment on all

23   claims. Dkt. ## 60, 64.

24
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 1                                                     III
                                                  DISCUSSION
 2

 3   A.      Motion to Dismiss

 4
             Federal Rule of Civil Procedure 12(b)(6) governs a motion to dismiss a cause of action
 5
     for failure “to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). When
 6
     considering a motion to dismiss under Rule 12(b)(6), a court must construe the complaint in the
 7
     light most favorable to the nonmoving party. Livid Holdings Ltd. v. Salomon Smith Barney, Inc.,
 8
     416 F.3d 940, 946 (9th Cir. 2005). The court must accept all well-pleaded facts as true and draw
 9
     all reasonable inferences in favor of the plaintiff. Wyler Summit P’ship v. Turner Broad. Sys.,
10
     Inc., 135 F.3d 658, 661 (9th Cir. 1998). But courts are not required “to accept as true allegations
11
     that are merely conclusory, unwarranted deductions of fact, or unreasonable inferences.”
12
     Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001), opinion amended on
13
     denial of reh’g, 275 F.3d 1187 (9th Cir. 2001). “To survive a motion to dismiss, a complaint
14
     must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
15
     on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
16
     550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual
17
     content that allows the court to draw the reasonable inference that the defendant is liable for the
18
     misconduct alleged.” Iqbal, 556 U.S. at 677–78.
19
             1.      Plaintiff states a Section 1983 claim for First Amendment retaliation
20

21           “In order to state a claim against a government employer for violation of the First

22   Amendment, an employee must show (1) that he or she engaged in protected speech; (2) that the

23

24
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 1   employer took ‘adverse employment action’; 8 and (3) that his or her speech was a ‘substantial or

 2   motivating’ factor for the adverse employment action.” Coszalter v. City of Salem, 320 F.3d

 3   968, 973 (9th Cir. 2003); see also Hodge v. Antelope Valley Cmty. Coll. Dist., No. CV 12–780

 4   PSG (Ex), 2014 WL 12776507, at *5 (C.D. Cal. Feb. 14, 2014) (along with showing they

 5   engaged in protected speech, the Ninth Circuit requires a public employee to show that the

 6   government took adverse employment action and that the speech was a substantial or motivating

 7   factor in the adverse action.).

 8           In Garcetti v. Ceballos, the Supreme Court held that “when public employees make
 9   statements pursuant to their official duties, the employees are not speaking as citizens for First
10   Amendment purposes, and the Constitution does not insulate their communications from
11   employer discipline.” 547 U.S. 410, 421 (2006). But the Supreme Court acknowledged that
12
             there is some argument that expression related to academic scholarship or
13           classroom instruction implicates additional constitutional interests that are not fully
             accounted for by this Court’s customary employee-speech jurisprudence. We need
14           not, and for that reason do not, decide whether the analysis we conduct today would
             apply in the same manner to a case involving speech related to scholarship or
15           teaching.

16   Id. at 425.

17           The Ninth Circuit then held in Demers v. Austin that “Garcetti does not apply to ‘speech
18   related to scholarship or teaching.’ . . . Rather, such speech is governed by Pickering v. Board of
19   Education[.]” 746 F.3d 402, 406 (9th Cir. 2014).
20

21

22
             8
              Defendants note correctly that Plaintiff must establish that he suffered an adverse employment
23   action (AEA) to adequately plead a First Amendment retaliation claim. Dkt. # 50 at 11. But Defendants
     do not address the legitimacy of the various alleged AEAs. Dkt. # 50 at 19. Thus, this order does not
24   analyze the issue.
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 1          Defendants argue first that Plaintiff did not speak “as a citizen” and so, under Garcetti,

 2   his speech is not constitutionally protected. Dkt. # 50 at 12. To support this argument,

 3   Defendants say that Plaintiff’s speech was not “related to scholarship or teaching” and thus not

 4   protected under Demers, 746 F.3d at 402. Dkt. # 50 at 12. Next, Defendants argue that even if,

 5   under Demers, Plaintiff’s speech related to scholarship or teaching, he cannot satisfy the

 6   Pickering balancing test that applies to such speech. Dkt. # 50 at 16–20.

 7                  a.        Plaintiff’s speech related to scholarship or teaching
 8
            The Court must determine whether Plaintiff’s speech “related to scholarship or teaching.”
 9
     Demers, 746 F.3d at 406. Defendants assert that Plaintiff’s own acknowledgment statement was
10
     not “speech related to scholarship or teaching” and instead was a “statement[] [made] pursuant to
11
     [his] official duties” and therefore governed by Garcetti. Dkt. # 50 at 12. Defendants cite two
12
     out-of-circuit, pre-Demers cases to support this assertion: Abcarian v. McDonald, 617 F.3d 931,
13
     938 n.5 (7th Cir. 2010) and Adams v. Trustees of the University of North Carolina-Wilmington,
14
     640 F.3d 550, 563 (4th Cir. 2011). Dkt. # 50 at 12–13. The Court does not see either as
15
     particularly apt here.
16
            Defendants cite Abcarian for a proposition that the case opinion includes in a footnote,
17
     which says,
18

19          We also reject [Plaintiff’s] unsupported assertion that his speech could be
            considered “expression related to academic scholarship or classroom instruction”
20          possible exempt from Garcetti. See 547 U.S. at 425, 126 S.Ct. 1951. [Plaintiff’s]
            speech involved administrative policies that were much more prosaic than would
21          be covered by principles of academic freedom.

22   617 F.3d at 938 n.5. But this case does not instruct on how to determine what is academic

23   speech. And the facts were different. There, the plaintiff “was Head of the Department of

24   Surgery at the University of Illinois College of Medicine at Chicago and Service Chief of the
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 1   Department of Surgery of the University of Illinois Medical Center at Chicago.” Id. at 934. He

 2   spoke as an administrator—not a teacher—on the subjects of “risk management, the fees charged

 3   to physicians, and surgeon abuse of prescription medications, among other things[.]” Id. at 937.

 4          Adams is similarly inapposite. The case does acknowledge that “[t]here may be instances
 5   in which a public university faculty member’s assigned duties include a specific role in declaring
 6   or administering university policy, as opposed to scholarship or teaching [and] [i]n that
 7   circumstance, Garcetti may apply to the specific instances of the faculty member’s speech
 8   carrying out those duties.” But there was no such instance in Adams and thus no decision on it.
 9   640 F.3d at 563–64.
10
            Plaintiff, however, cites two out-of-circuit cases—with facts more like the facts here—
11
     that apply the Pickering balancing test to the plaintiff-professor’s speech: Buchanan v.
12
     Alexander, 919 F.3d 847, 852–53 (5th Cir. 2019), Meriwether v. Hartop, 992 F.3d 492, 506–07
13
     (6th Cir. 2021). Dkt. # 52 at 25.
14
            In Buchanan, the plaintiff was a university professor who made comments in the
15
     classroom that were, according to university administrators, “inappropriate, unwelcome, and a
16
     direct violation of the University’s Policy Statements on Sexual Harassment[.]” 919 F.3d at 851.
17
     The Fifth Circuit explained that “[p]ublic university professors are public employees[,]” and thus
18
     “[t]o establish a § 1983 claim for violation of the First Amendment right to free speech, they
19
     must show that (1) they were disciplined or fired for speech that is a matter of public concern,
20
     and (2) their interest in the speech outweighed the university’s interest in regulating the
21
     speech”—i.e., the Pickering balancing test. Id. at 853. It does not appear that whether Pickering
22
     applied was disputed.
23

24
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 1          And in Meriwether, the Sixth Circuit also applied the Pickering balancing test to speech

 2   made by the plaintiff-professor in his classroom, including speech in a syllabus. 992 F.3d at

 3   504–06. There, a philosophy professor at a public college was disciplined for refusing, based on

 4   asserted religious views, to use a student’s preferred pronouns in class. Id. at 498–503. The

 5   court held that “[b]y forbidding [plaintiff] from describing his views on gender identity even in

 6   his syllabus, Shawnee State silenced a viewpoint that could have catalyzed a robust and

 7   insightful in-class discussion[,]” id. at 506, and explained that it must apply the “Pickering-

 8   Connick framework to determine whether Meriwether has plausibly alleged that his in-class

 9   speech was protected by the First Amendment[,]” id. at 507.

10          Defendants then argue that Reges’s statement was made in a “University-sanctioned
11   document” “over which the University exercises specific oversight and approval.” Dkt. # 50 at
12   13. They say that Plaintiff’s alternate land acknowledgment statement “garbled” and “distorted”
13   UW’s message. Id. The “policy” in question was UW’s policy of developing an inclusive
14   environment and recruitment of a diverse student body, including increased recruitment of
15   Native students, to the Allen School. At oral argument, counsel for Defendants described the
16   policy as “not limited to the recommended ‘Indigenous Land Acknowledgment Statement.’”
17   Dkt. # 87 at 7. Counsel explained that the suggested statement
18
            was produced as a part of a broader policy to create an inclusive and welcome
19          learning environment for all students, including Native American students. And the
            Allen School, and the University more generally, have been concerned for a long
20          time about increasing the number of Native American students at the University
            and in the Allen School and in helping them successfully complete the program.
21
     Id.
22
            Defendants liken Reges’s speech, and the context in which it was made, to the speech at
23
     issue in Downs v. Los Angeles Unified School District, 228 F.3d 1003 (9th Cir. 2000), and
24
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 1   Johnson v. Poway Unified School District, 658 F.3d 954 (9th Cir. 2011), two cases that preceded

 2   Demers. Dkt. # 50 at 14.

 3          In Downs, the Los Angeles Unified School District issued a memorandum titled “Gay
 4   and Lesbian Awareness Month” (Memorandum No. 11) that designated the month of “June of
 5   each year as ‘a time to focus on gay and lesbian issues.’” 228 F.3d at 1005. This was done “to
 6   support ‘Educating for Diversity.’” Id. Some staff members at a high school in the district
 7   “created a bulletin board inside the school building on which faculty and staff could post
 8   materials related to Gay and Lesbian Awareness Month[.]” Id. at 1006. Plaintiff, a teacher, who
 9   objected to recognition of Gay and Lesbian Awareness Month, placed his own bulletin board
10   across the hall and posted anti-LGBTQ items such as quotes from the Book of Leviticus, anti-
11   sodomy laws, and statistics on beliefs on the morality of “homosexuality.” Id. at 1007. Multiple
12   faculty members complained about these materials, which were ultimately removed as
13   inconsistent with the purpose of Memorandum No. 11. Id. Plaintiff claimed a violation of his
14   First Amendment rights.
15
            The Ninth Circuit concluded that plaintiff’s speech constituted government speech in a
16
     nonpublic forum. 228 F.3d at 1012. It explained that “[w]hen the government is formulating
17
     and conveying its message, it may take legitimate and appropriate steps to ensure that its
18
     message is neither garbled nor distorted by its individual messengers.” Id. at 1013–14 (internal
19
     quotation marks and citation omitted). The policy in that case—Memorandum No. 11— “made
20
     clear that it was ‘the District’s multicultural and human relations education policy’ to ‘Educat[e]
21
     for Diversity,’ and that this included the expectation that all students would be given equal
22
     access to a quality education and the academic and social activities of the school.” Id. at 1014.
23

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 1           In Johnson, the Ninth Circuit addressed a similar situation in which a high school

 2   calculus teacher, who was ordered to remove religious banners in his classroom, brought First

 3   Amendment claims. 658 F.3d at 960. The Ninth Circuit, in reversing the district court’s

 4   conclusion that the school district violated plaintiff’s constitutional rights, explained that “it

 5   would consider whether Poway’s actions ran afoul of the sequential five-step Pickering-based

 6   test 9 we adopted in Eng v. Cooley, 552 F.3d 1062, 1070–72 (9th Cir. 2009).” Id. at 961.

 7           The pertinent issue in Johnson was whether the plaintiff spoke as a private citizen or as a
 8   public employee—step two of Eng. The Ninth Circuit held that plaintiff “clear[ly] . . . spoke as
 9   an employee.” Id. at 967. It explained,
10
             Johnson did not act as a citizen when he went to school and taught class, took
11           attendance, supervised students, or regulated their comings-and-goings; he acted as
             a teacher—a government employee. Cf. [Garcetti], 547 U.S. at 422, 126 S.Ct. 1951.
12           . . . Similarly, Johnson did not act as an ordinary citizen when “espousing God as
             opposed to no God” in his classroom. . . . Mayer [v. Monroe County Community
13           School Corp.], 474 F.3d [477,] 479–80 [(7th Cir. 2007)] (“The Constitution does
             not entitle teachers to present personal views to captive audiences against the
14           instructions of elected officials.”)[.]
     Id. (emphasis added).
15

16           Downs and Johnson concern speech by high school teachers, not college faculty. This

17   distinction appears to make a legal difference.

18
             Notably, both decisions precede Demers, which clarifies that “Garcetti does not apply to
19
     ‘speech related to scholarship or teaching.’ . . . Rather, such speech is governed by Pickering v.
20

21

22
             9
               This “sequential five-step” test includes: “(1) whether the plaintiff spoke on a matter of public
     concern; (2) whether the plaintiff spoke as a private citizen or public employee; (3) whether the plaintiff’s
     protected speech was a substantial or motivating factor in the adverse employment action; (4) whether the
23   state had an adequate justification for treating the employee differently from other members of the general
     public; and (5) whether the state would have taken the adverse employment action even absent the
24   protected speech.” Johnson, 658 F.3d at 961 (quoting Eng, 552 F.3d at 1070).
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 1   Board of Education, 391 U.S. 563, 88 S.Ct. 1731, 20 L.Ed.2d 811 (1968).” Demers, 746 F.3d at

 2   406.

 3           Next, in Johnson, the Ninth Circuit observed that Garcetti’s “‘academic freedom’ carve-
 4   out, 547 U.S. at 425, 126 S.Ct. 1951, applied to teachers at ‘public colleges and universities,’ . . .,
 5   not primary and secondary school teachers.” 658 F.3d at 966 n.12.
 6
             And even two years before Demers, another court in this circuit recognized the
 7
     “academic freedom” carve out as applying to “public colleges and universities.” Lopez v. Fresno
 8
     City Coll., No. 1:11-CV-01468 AWI, 2012 WL 844911, at *8 (E.D. Cal. Mar. 12, 2012). In
 9
     Lopez, the Eastern District of California addressed a college professor’s First Amendment
10
     retaliation claim on a motion to dismiss. Id. at *7. The professor had made allegedly
11
     discriminatory and harmful statements in the classroom, which resulted in the university limiting
12
     his speech. Id. at *1. In denying the defendants’ motion to dismiss on this point, the court
13
     explained that,
14
             [t]he Ninth Circuit has applied the [Garcetti] analysis (the second step of the five-
15
             step Eng test) in a case involving a secondary school teacher, noting that the
             academic freedom carve-out contemplated by [Garcetti] concerned the
16
             applicability of the decision to teachers at “public colleges and universities.”
             Johnson v. Poway Unified Sch. Dist., 658 F.3d 954, 966 n. 12 (9th Cir.2011) . . .
17
             Because both the Supreme Court and the Ninth Circuit have expressed concerns
             about applying the [Garcetti] analysis to a teacher in Plaintiff’s position, the Court
18
             will not apply the second step of the Eng test, which requires Plaintiff to show he
             spoke as a private citizen and not a public employee.
19
     Id. at *8.
20

21           Finally, a case cited in Johnson suggests that its analysis is specific to the secondary

22   school situation. Johnson, 658 F.3d at 967 (citing Mayer, 474 F.3d at 479–80). In Mayer, the

23   court explained “[t]he Constitution does not entitle teachers to present personal views to captive

24
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 1   audiences against the instructions of elected officials.” 474 F.3d at 479–80. And a later Ninth

 2   Circuit case also suggests that Johnson was limited to the secondary school situation:

 3          [Johnson] held that, “because of the position of trust and authority they hold and
            the impressionable young minds with which they interact, teachers necessarily act
 4          as teachers ... when at school or a school function, in the general presence of
            students, in a capacity one might reasonably view as official.” [Johnson], 658 F.3d
 5          at 968. . . . [Johnson] focused on the “impressionable and captive minds” to whom
            the employees at issue espoused their views.
 6
     Greisen v. Hanken, 925 F.3d 1097, 1112 (9th Cir. 2019).
 7
            For these reasons, the Court sees Downs and Johnson as distinguishable concludes that
 8
     Plaintiff’s speech was “related to scholarship or teaching” and is thus governed by Pickering.
 9
     Demers, 746 F.3d at 406.
10

11                  b.      Pickering two-step test

12
            The first step in Pickering “is to determine whether [the speech] addressed a matter of
13
     public concern.” Demers, 746 F.3d at 415. The second step requires a court to consider whether
14
     “the interest of the State, as an employer, in promoting the efficiency of the public services it
15
     performs through its employees” outweighs “the interests of the teacher, as a citizen, in comment
16
     upon matters of public concern.” Pickering, 391 U.S. at 568.
17
                            (1)     Plaintiff’s speech involved a matter of public concern
18

19          “Speech involves a matter of public concern when it can fairly be considered to relate to

20   any matter of political, social, or other concern to the community.” Demers, 746 F.3d at 415.

21   “Public interest is defined broadly,” and the Ninth Circuit has “adopted a liberal construction of

22   what an issue of public concern is under the First Amendment.” Id. (internal quotation marks

23   omitted).

24
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 1           Plaintiff argues that his speech “presents a view on a social and political issue, a matter of

 2   public concern at UW and beyond: indigenous land acknowledgments and their meaning,

 3   purpose, appropriateness, effectiveness, or utility.” Dkt. # 52 at 28. Defendants do not contest

 4   this point in their briefing. The Court agrees with Plaintiff and concludes that he spoke on a

 5   matter of public concern.

 6                            (2)   The Court cannot employ the balancing test at this stage
 7
             “Once a plaintiff shows that his or her statements were of public concern, the burden
 8
     shifts to the defendant to show that, under the Pickering balancing test, its legitimate
 9
     administrative interests in regulating the speech outweigh the plaintiff’s First Amendment
10
     rights.” Hodge, 2014 WL 12776507, at *9 (citing Bauer v. Sampson, 261 F.3d 775, 784 (9th Cir.
11
     2001). The standard the Court must employ for this balancing test is explained in detail below.
12
     Infra section III.B.1.
13

14           “Because of the inherently fact-intensive nature of this inquiry, the Court can rarely

15   perform the Pickering balancing on a motion to dismiss.” Guadalupe Police Officer’s Ass’n v.

16   City of Guadalupe, No. CV 10–8061 GAF (FFMx), 2011 WL 13217672, at *10 (C.D. Cal. June

17   8, 2011) (citing Decotiis v. Whittemore, 635 F.3d 22, 35 n.15 (1st Cir. 2011) (noting that ‘the

18   Pickering balancing test … does not easily lend itself to dismissal on a Rule 12(b)(6) motion’));

19   see also Montclair Police Officers’ Ass’n v. City of Montclair, No. CV 12-6444 PSG (PLAx),

20   2012 WL 12888427, at *7 (C.D. Cal. Oct. 24, 2012) (“[I]n the context of a motion to dismiss, the

21   [c]ourt rarely performs the Pickering analysis because of the fact-intensive nature of the inquiry.

22   . . Plaintiffs have met their burden as to establishing that the speech in question is protected

23   based on the pleadings; whether the government can establish that the restriction is justified

24   based on Pickering is not appropriately decided on a motion to dismiss.”). Thus, taking
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 1   Plaintiff’s well-pleaded facts as true, as the Court must at this stage, it cannot find that Plaintiff

 2   has failed to plead a Section 1983 claim for First Amendment retaliation.

 3           2.      Plaintiff states a claim for viewpoint discrimination
 4
             As for Plaintiff’s viewpoint discrimination claim, Defendants first say that it “is not
 5
     viable separate from [his] retaliation claims” (citing Berry v. Dep’t of Soc. Servs., 447 F.3d 642
 6
     (9th Cir. 2006)). Dkt. # 50 at 20. Second, Defendants contend Plaintiff’s “speech constituted
 7
     government speech that the University was entitled to regulate.” Id. But above, this order
 8
     rejects this second contention. Supra section III.A.1.a.
 9
             As for the first ground, Plaintiff interprets Berry as concluding that the Pickering
10
     balancing test must be used “‘regardless of the reason an employee believes his or her speech is
11
     constitutionally protected.’ [Berry, 447 F.3d at 650].” Dkt. # 52 at 22–23. And based on this
12
     understanding he says that “[n]othing in Berry precludes Reges from bringing his standalone
13
     claim for viewpoint discrimination.” Id. at 23.
14

15           But the Court does not read Defendants’ argument to claim that Plaintiff cannot bring a

16   standalone viewpoint discrimination claim. Defendants state that Plaintiff’s viewpoint

17   discrimination claim is not “viable separate from [his] retaliation claims[,]” Dkt. # 50 at 20

18   (emphasis added), because the Pickering balancing test, which applies to both of Plaintiff’s First

19   Amendment claims, yields the same result as to both.

20
             The parties do not appear to disagree that Berry holds that the Pickering balancing test
21
     applies to both a First Amendment retaliation claim and a viewpoint discrimination claim
22
     brought in the government employment context. And the Court reads Berry the same way. 447
23
     F.3d at 650; see also Cochran v. City of Atlanta, 289 F. Supp. 3d 1276, 1293–94 (N.D. Ga. 2017)
24
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 1   (“The Court finds that Pickering is the appropriate test to assess Plaintiff’s viewpoint

 2   discrimination claim. This balancing appropriately acknowledges the City’s unique position as

 3   an employer in its firing decision, and it appropriately balances the employee’s interest with that

 4   of the employer.”).

 5          While the Court concludes that Plaintiff’s First Amendment viewpoint discrimination
 6   claim is subject to the Pickering balancing test, as explained above, it cannot conduct the
 7   balancing test at the motion to dismiss stage and thus cannot dismiss the claim on Rule 12(b)(6)
 8   grounds.
 9
            3.      Executive Order 31 is not facially overbroad
10
            Plaintiff challenges EO 31 as facially overbroad, Dkt. # 46 at 35, and Defendants move to
11
     dismiss this claim, Dkt. # 50 at 22. EO 31 is titled, “Nondiscrimination and Affirmative Action.”
12
     EO 31. It provides, in relevant part,
13

14          The University of Washington, as an institution established and maintained by the
            people of the state, is committed to providing equality of opportunity and an
15          environment that fosters respect for all members of the University community. This
            policy has the goal of promoting an environment that is free of discrimination,
16          harassment, and retaliation. To facilitate that goal, the University retains the
            authority to discipline or take appropriate corrective action for any conduct that is
17          deemed unacceptable or inappropriate, regardless of whether the conduct rises to
            the level of unlawful discrimination, harassment, or retaliation.
18
     EO 31, supra note 6 (emphasis added). The policy provides definitions for “discrimination,”
19
     “harassment,” “retaliation,” and “sexual harassment” and states that “[t]erms used in this policy
20
     are intended to have the meaning given to them by applicable federal or state laws and
21
     regulations.” Id.
22
            Plaintiff alleges that EO 31 is facially overbroad because “the prohibition on
23
     ‘unacceptable’ and ‘inappropriate’ expression covers a broad universe of constitutionally
24
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 1   protected expression judged in relation to its legitimate sweep—actionable harassment or

 2   retaliation, as properly legally defined.” Dkt. # 46 at 27 (emphasis in original). Plaintiff argues

 3   that,

 4           the policy would support discipline against a student or faculty member who, during
             a meeting, made a single offhand remark deemed “inappropriate,” even if the
 5           remark was not harassing, discriminatory, or targeted at any individual. It would
             also support discipline against a student or faculty member who posted an
 6           “unacceptable” tweet criticizing the university president or another official for their
             position on a public issue.
 7
     Id. at 35–36. While recognizing that “discrimination, harassment, and retaliation, as properly
 8
     defined by law,” are unprotected by the First Amendment, Id. at 36 (citing Davis v. Monroe
 9
     Cnty. Bd. of Educ., 526 U.S. 629, 651 (1999)), Plaintiff asserts that “by permitting ‘discipline’
10
     and ‘corrective action’ against those whose speech University administrators deem
11
     ‘unacceptable’ or ‘inappropriate,’ even when it does not meet the legal definition of
12
     discrimination, harassment, or retaliation, Executive Order 31 permits a broad range of
13
     unconstitutional applications in violation of the First Amendment[.]” Id. at 36.
14

15           Defendants move to dismiss the overbreadth claim on three grounds:

16           First, construing the Order shows that its language aims at conduct akin to
             discrimination, harassment, or retaliation—not protected speech. Second, even the
17           applications of the Order that may restrict expression are permissible under the
             Pickering balance discussed above, which also governs overbreadth challenges in
18           the public-employment context. And third, the Supreme Court and other courts
             have repeatedly blessed regulations like the Order.
19
     Dkt. # 50 at 22. 10
20

21
             10
                Defendants say that the Pickering balancing test applies to the facial overbreadth challenge. In
22
     Hernandez v. City of Phoenix the Ninth Circuit held that, when analyzing overbreadth challenges in the
     “public employment context,” the court “appl[ies] a modified Pickering balancing analysis that closely
23   tracks the test used for First Amendment retaliation claims.” 43 F.4th 966, 980 (9th Cir. 2022). But that
     case does not concern a college or university policy. The Court cannot find, and Defendants do not cite,
24
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 1             Plaintiff responds by seeking to illustrate the “‘substantial number’ of applications to

 2   protected speech relative to its legitimate sweep[,]” stating that administrators could,

 3             “discipline or take appropriate corrective action” against a member of the UW
               community who—to draw from a few real-world examples—hosts a drag show,
 4             delivers a provocative but attention-grabbing lecture on syllabus day, or discusses
               with students the use-mention distinction for racial slurs. Administrators could
 5             punish professors who place “Black Lives Matter” or “Blue Lives Matter” stickers,
               or any other conceivable political message, on their office doors because the words
 6             “inappropriate” and “offensive” have only the meaning that the beholder ascribes
               to them.
 7
     Dkt. # 52 at 37–38.
 8

 9             Second, Plaintiff states that courts routinely declare higher education policies similar to

10   EO 31 as constitutionally overbroad. Dkt. # 52 at 38 (citing McCauley v. Univ. of the V.I., 618

11   F.3d 232, 250, 252 (3d Cir. 2010); DeJohn v. Temple Univ., 537 F.3d 301, 317–18 (3d Cir.

12   2008); and Coll. Republicans at S.F. State Univ. v. Reed, 523 F. Supp. 2d 1005 (N.D. Cal.

13   2007)).

14             Third, Plaintiff argues that because the policy’s “legitimate sweep—preventing
15   discriminatory harassment—is already addressed by other applicable policies[,]” and because EO
16   31 applies “regardless of whether the conduct arises to the level of unlawful discrimination,
17   harassment, or retaliation[,]” EO 31 is “effectively limitless” in its applications. Dkt. # 52 at 39.
18
               “Under the substantial overbreadth doctrine, a statute or regulation may be facially
19
     invalid under the First Amendment if there is a realistic danger that it will significantly
20
     compromise recognized First Amendment protections of parties not before the Court.” O’Brien
21

22

23   any case in which this approach was applied in the college or university context. The Court hesitates to
     follow this approach without express direction from the Ninth Circuit or the Supreme Court.
24
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 1   v. Welty, 818 F.3d 920, 929–30 (9th Cir. 2016) (internal quotation marks and citation omitted). 11

 2   “Substantial overbreadth exists if a substantial number of its applications are unconstitutional,

 3   judged in relation to the statute’s plainly legitimate sweep.” Flores v. Bennet, 635 F. Supp. 3d

 4   1020, 1037–38 (E.D. Cal. 2022), aff’d No. 22-16762, 2023 WL 4946605 (9th Cir. Aug. 3, 2023)

 5   (internal quotation marks omitted).

 6          “The first step in overbreadth analysis is to construe the challenged statute; it is
 7   impossible to determine whether a statute reaches too far without first knowing what the statute
 8   covers.” United States v. Stevens, 559 U.S. 460, 474 (2010); see also Arce v. Douglas, 793 F.3d
 9   968, 984 (9th Cir. 2015). When construing a statute, policy, or law, the Court looks to the state’s
10   own rules of statutory construction. See, e.g., Arce, 793 F.3d at 984 (with an Arizona statute at
11   issue, the court applied that state’s rules of statutory construction). In Washington, when
12   “interpreting statutory terms, a court should take into consideration the meaning naturally
13   attaching to them from the context, and [ ] adopt the sense of the words which best harmonizes
14   with the context.” State v. Roggenkamp, 153 Wash. 2d 614, 613, 106 P.3d 196 (2005) (internal
15   quotation marks and citations omitted). Challenged terms must be read within the context they
16   are used. See, e.g., O’Brien, 818 F.3d at 930 (“In the challenged regulation before us, the terms
17   ‘harassment’ and ‘intimidation’ do not stand on their own. [The regulation] prohibits only
18   ‘harassment’ or ‘intimidation’ that threatens or endangers the health or safety of another in the
19   university community.”).
20
            Once construed, the court must determine “whether the statute, as [it has been] construed
21
     [], [pen]alizes a substantial amount of protected expressive activity.” United States v. Williams,
22
     553 U.S. 285, 297 (2008). A facial overbreadth determination is “strong medicine” and thus
23

24          11
                 The parties do not dispute that the substantial overbreadth doctrine applies to EO 31.
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 1   “has not been invoked when a limiting construction has been or could be placed on the

 2   challenged statute.” Broadrick v. Oklahoma, 413 U.S. 601, 613 (1973). But a court is “not

 3   required to insert missing terms into the statute or adopt an interpretation precluded by the plain

 4   language of the ordinance” when considering a party’s limiting construction. Foti v. City of

 5   Menlo Park, 146 F.3d 629, 639 (9th Cir. 1998), as amended on denial of reh’g (July 29, 1998).

 6          In EO 31, the terms “inappropriate” and “unacceptable” do not stand on their own—
 7   rather, the order provides that, to “facilitate [the] goal” of “promoting an environment that is free
 8   of discrimination, harassment, and retaliation” all “unacceptable” or “inappropriate” conduct
 9   may be addressed. Thus, EO 31 ties the terms “inappropriate” and “unacceptable” to
10   discriminatory, harassing, or retaliatory conduct.
11
            The terms “unacceptable” and “inappropriate” do not allow “unfettered discretion” to
12
     administrators. As argued by Defendants, per the terms of EO 31, the conduct at issue must
13
     “resemble” discrimination, harassment, or retaliation, even if not unlawful under employment
14
     laws. Dkt. # 50 at 24.
15

16          Given the stated goal of the policy, and the context in which challenged terms reside, the

17   Court agrees with Defendants’ limiting construction of the EO applying to speech that

18   “resemble[s]” discrimination, harassment, or retaliation, even if not unlawful under employment

19   laws. Dkt. # 50 at 24. See Broadrick, 413 U.S. at 613.

20          And EO 31 Section 4: Definitions, states that “terms in this policy are intended to have
21   the meaning given to them by applicable federal or state laws and regulations.” EO 31, supra
22   note 6. Thus, because the terms “discrimination,” “harassment,” and “retaliation” are defined,
23   EO 31 provides fair notice of what conduct may be considered “inappropriate” or
24
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 1   “unacceptable.” See, e.g., Corlett v. Oakland Univ. Bd. of Trustees, 958 F. Supp. 2d 795, 801,

 2   811 (E.D. Mich. 2013) (holds a university regulation that barred anyone from “intimidat[ing],

 3   harass[ing], threaten[ing] or assault[ing] any person engaged in lawful activities on campus” was

 4   not facially overbroad; explains that because “the terms ‘intimidate’, ‘harass’, ‘threaten’, and

 5   ‘assault’ each have ‘long-established legal definitions[,]’” the regulation does not ‘sweep within

 6   its ambit a substantial amount of [constitutionally] protected speech,’ and provides fair notice of

 7   what conduct is prohibited thereunder.”).

 8          Plaintiff cites three cases on this issue: McCauley, 618 F.3d at 232; DeJohn, 537 F.3d at
 9   301; and College Republicans at San Francisco State University, 523 F. Supp. 2d at 1005. They
10   do not yield a different conclusion here.
11
            In McCauley, the Third Circuit considered whether several paragraphs in a “Student
12
     Code of Conduct” at a university were facially overbroad. 618 F.3d at 237. At issue was a
13
     provision that outlined “Misbehavior at Sports Events, Concerts, and Social-Cultural Events,”
14
     which included “[d]isplaying in the Field House, softball field, soccer field, cafeteria and [Arts
15
     center] any unauthorized or obscene, offensive or obstructive sign.” Id. at 248 (emphasis added).
16
     The court held that the term “offensive” is, “on its face, sufficiently broad and subjective that [it]
17
     could conceivably be applies to cover any speech … th[at] offends someone.” Id. at 248–49. It
18
     explained that “absent any requirement akin to a showing of severity or pervasiveness—that is, a
19
     requirement that the conduct objectively and subjectively creates a hostile environment or
20
     substantially interferes with an individual’s work [or study]—[the provision] provides to shelter
21
     for core protected speech.” Id. (internal quotation marks and citation omitted).
22
            Unlike the challenged provisions in McCauley, EO 31 does include a “requirement akin
23
     to a showing of severity or pervasiveness.” EO 31 requires conduct to be “sufficiently severe,
24
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 1   persistent, or pervasive[.]” EO 31, supra note 6. And it explains that “harassment” for purposes

 2   of this anti-harassment policy includes any conduct that “could reasonably be expected to create

 3   an intimidating, hostile, or offensive work or learning environment” or conduct that “has the

 4   purpose or effect of unreasonably interfering with an individual’s work or academic

 5   performance.” Id.

 6          In DeJohn, the Third Circuit addressed a sexual harassment policy that provided, in
 7   relevant part: “all forms of sexual harassment are prohibited, including ... expressive, visual, or
 8   physical conduct of a sexual or gender-motivated nature, when ... (c) such conduct has the
 9   purpose or effect of unreasonably interfering with an individual’s work, educational
10   performance, or status; or (d) such conduct has the purpose or effect of creating an intimidating,
11   hostile, or offensive environment.” 537 F.3d at 305. Considering the plaintiff’s facial
12   overbreadth challenge, the court explained that
13
            the policy’s use of hostile, offensive, and gender-motivated is, on its face,
14          sufficiently broad and subjective that they could conceivably be applied to cover
            any speech of a gender-motivated nature the content of which offends someone. . .
15          . Absent any requirement akin to a showing of severity or pervasiveness—that is, a
            requirement that the conduct objectively and subjectively creates a hostile
16          environment or substantially interferes with an individual’s work—the policy
            provides no shelter for core protected speech.
17
     Id. at 317–318 (internal quotation marks and citations omitted). Again, EO 31 does include a
18
     requirement “akin to a showing of severity or pervasiveness[.]” Id. In its definition of “sexual
19
     harassment,” EO 31 addresses “[u]nwelcome and unsolicited language or conduct that is of a
20
     sexual nature and that is sufficiently severe, persistent, or pervasive that it could reasonably be
21
     expected to create an intimidating, hostile, or offensive working r learning environment[.]” EO
22
     31, supra note 6.
23

24
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 1          Finally, College Republicans at San Francisco State University involved a challenge to a

 2   provision in a university’s “Standards of Student Conduct.” 523 F. Supp. 2d at 1010. A

 3   provision under “unacceptable student behaviors” prohibited “[c]onduct that threatens or

 4   endangers the health or safety of any person within or related to the University community,

 5   including physical abuse, threats, intimidation, harassment, or sexual misconduct.” Id. The

 6   plaintiff argued that the terms “intimidation” and “harassment” made the provision overbroad.

 7   Id. at 1013. The court concluded,

 8          Standing alone, the terms “intimidation” and “harassment” are not clearly self-
            limiting and could be understood, reasonably, to proscribe at least some expressive
 9          activity that would be protected by the First Amendment. These challenged words,
            however, do not stand alone. They appear in a specific context. Plaintiffs argue that
10          that context cannot be understood, reasonably, as limiting or qualifying the reach
            of these terms and, therefore, that the court must analyze each of them as if it
11          appeared in isolation, as an independent, unqualified proscription. Because this
            argument is vulnerable to apparently fatal counter-points, we cannot base issuance
12          of a preliminary injunction on it. . . . In other words, the structure of the challenged
            provision, viewed as a whole, suggests that it was not intended to proscribe
13          “intimidation” or “harassment” in whatever form “intimidation” or “harassment”
            might take, but only the sub-category of intimidation or harassment that “threatens
14          or endangers the health or safety of any person.”
15   Id. at 1021–22. Here, as explained above, the challenged terms and phrases, when read in

16   context, apply not to any conduct but to conduct that resembles or is akin to discriminatory,

17   harassing, or retaliatory conduct. Thus, this case supports Defendants’ position.

18
            Finally, in his motion for summary judgment, Plaintiff summarizes Flores, 635 F. Supp.
19
     3d at 1020, aff’d, 2023 WL 4946605. This case is about a community college district’s policy
20
     regulating student posters. The policy guidelines stated that “[p]osters with inappropriate or
21
     offense language or themes are not permitted and will not be approved.” Id. at 1028. The
22
     plaintiffs argued that the use of the terms “inappropriate” and “offense” rendered the guidelines
23
     facially overbroad because a “substantial number of the policy’s application prohibit
24
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 1   constitutionally protected speech.” Id. at 1037. The Ninth Circuit explained that “what is

 2   ‘inappropriate’ or ‘offensive’ is a subjective determination, which would vary based on a college

 3   administrator’s personal beliefs.” 2023 WL 4946605, at *2. But unlike the policy in Flores,

 4   which simply banned “inappropriate” speech, with no specification of what may constitute

 5   “inappropriate” (or “offensive”), EO 31 is tied to discriminatory, harassing, and retaliatory

 6   conduct. EO 31, supra note 6; see also O’Brien, 818 F.3d at 930 (holding that terms must be

 7   read within the context they are used).

 8          For these reasons, the Court concludes that EO 31 does not penalize a substantial amount
 9   of protected expressive activity.
10
            4.      Executive Order 31 is not facially vague
11
            Defendants move to dismiss Plaintiff’s facial vagueness challenge of EO 31. Dkt. # 50 at
12
     26–28. Plaintiff alleges that because “unacceptable” and “inappropriate” “are undefined and
13
     carry no reasonably objective plain meaning,” they are “impermissibly vague.” Dkt. # 46 at 27.
14
     Plaintiff states that EO 31 “is so vague that it authorizes arbitrary, capricious, and viewpoint-
15
     discriminatory application, and fails to provide people of ordinary intelligence a reasonable
16
     opportunity to understand what expression is ‘unacceptable’ or ‘inappropriate.’” Id. at 38.
17

18          Plaintiff asserts that EO 31 is facially vague for two reasons. First, he says it “contains

19   no definition of ‘unacceptable or inappropriate,’ and those terms do not carry any reasonably

20   objective plain meaning” and thus “fails to provide members of the UW community with ‘fair

21   warning’ of what expression the policy prohibits.” Dkt. # 52 at 40. Second, he says, “it fails to

22   provide ‘explicit standards’ to prevent ‘arbitrary and discriminatory enforcement’ by

23   administrators” because the use of the terms ‘inappropriate’ and ‘unacceptable’ may result in

24   “[d]ifferent administrators [ ] com[ing] to different conclusions as to whether the same speech
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 1   falls within those terms.” Id. at 41. And in response to Defendants’ assertion that EO 31 applies

 2   only to conduct “resembling” discrimination, harassment, or retaliation, Dkt. # 50 at 20, he says,

 3   “It is impossible for any member of the UW community to predict what an administrator decides

 4   ‘resembles’ discrimination.” Dkt. # 52 at 41.

 5           Defendants respond that “[b]ecause the Order, properly construed, addresses conduct like
 6   discrimination, harassment, or retaliation—even if the conduct falls short of what is unlawful and
 7   legally actionable—reasonable members of the University community are on notice of what sort
 8   of conduct is ‘unacceptable’ or ‘inappropriate’ under the Order.” Dkt. # 50 at 26. They say, “It
 9   is a basic principle of due process that an enactment is void for vagueness if its prohibitions are
10   not clearly defined.” Dkt. # 50 at 26 (quoting Grayned v. City of Rockford, 408 U.S. 104, 108
11   (1972)). 12
12
             “[P]erfect clarity and precise guidance have never been required even of regulations that
13
     restrict expressive activity.” Edge v. City of Everett, 929 F.3d 657, 664 (9th Cir. 2019) (internal
14
     quotation marks and citation omitted). The vagueness doctrine carries two requirements.
15

16           First, “laws [must] give the person of ordinary intelligence a reasonable opportunity
             to know what is prohibited, so that he may act accordingly.” . . . Typically, all that
17           is required to satisfy this due process concern is “fair notice” of the conduct a statute
             proscribes.
18
     Id. at 664 (citations omitted). “If it is clear what the challenged provisions proscribe in the vast
19
     majority of [their] intended applications, they cannot be deemed unconstitutionally vague on
20
     their face.” Hernandez, 43 F.4th at 982 (internal quotation marks and citation omitted)
21
     (alteration in original). But “where [F]irst [A]mendment freedoms are at stake, an even greater
22
     degree of specificity and clarity of laws is required[.]” Edge, 929 F.3d at 664 (internal quotation
23

24           12
                  The parties do not dispute that the vagueness doctrine applies to EO 31.
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 1   marks and citation omitted). “This enhanced standard protects against laws and regulations that

 2   might have the effect of chilling protected speech or expression by discouraging participation.”

 3   Id. at 664–65. But

 4          even when a law implicates First Amendment rights, the constitution must tolerate
            a certain amount of vagueness. . . . For the purposes of a facial attack on a statute
 5          or ordinance, a statute’s vagueness exceeds constitutional limits if its deterrent
            effect on legitimate expression is … both real and substantial, and if the statute is
 6          [not] readily subject to a narrowing construction[.] . . . [S]peculation about possible
            vagueness in hypothetical situations not before the Court will not support a facial
 7          attack on a statute when it is surely valid in the vast majority of its intended
            applications.
 8
     Tucson v. City of Seattle¸ 91 F.4th 1318, 1329 (9th Cir. 2024) (internal quotation marks and
 9
     citations omitted). Moreover, “‘otherwise imprecise terms may avoid vagueness problems when
10
     used in combination with terms that provide sufficient clarity.’” Edge, 929 F.3d at 664 (quoting
11
     Gammoh v. City of La Habra, 395 F.3d 1114, 1120 (9th Cir. 2005)).
12

13          “The vagueness doctrine’s second requirement aims to avoid ‘arbitrary and

14   discriminatory enforcement,’ and demands that laws ‘provide explicit standards for those who

15   apply them.’ Grayned, 408 U.S. at 108, 92 S.Ct. 2294.” Edge, 929 F.3d at 665. “Definitions of

16   proscribed conduct that rest wholly or principally on the subjective viewpoint of a law

17   enforcement officer run the risk of unconstitutional murkiness.” Id. at 666.

18          Finally, the Supreme Court has made clear that there is “substantially more room for
19   imprecision in rules with only civil or employment consequences than would be tolerated in a
20   criminal code. See Arnett [v. Kennedy], 416 U.S. [134,] 159 [(1974)][.]” Hiers v. Bd. Of
21   Regents of the Univ. of N. Tex. Sys., No. 4:20-CV-321-SDJ, 2022 WL 748502, at *20 (E.D. Tex.
22   Mar. 11, 2022).
23

24
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 1           As explained in the overbreadth section above, the terms “unacceptable” and

 2   “inappropriate” do not stand on their own. Read in context, the terms relate to conduct that is

 3   discriminatory, harassing, or retaliatory as defined by EO 31. Supra section III.A.3; Edge, 929

 4   F.3d at 664 (“[O]therwise imprecise terms may avoid vagueness problems when used in

 5   combination with terms that provide sufficient clarity.”); see also O’Brien, 818 F.3d at 930

 6   (Ninth Circuit explained that “[i]n the challenged regulation before us, the terms ‘harassment’

 7   and ‘intimidation’ do not stand on their own. [The regulation] prohibits only ‘harassment’ or

 8   ‘intimidation’ that threatens or endangers the health or safety of another in the university

 9   community.”). Moreover, because EO 31 can be construed as covering speech “resembling” or

10   “akin” to discrimination, harassment, or retaliation, supra section III.A.3, which are each defined

11   in EO 31, the Court also does not find that it will be “impossible for any member of the UW

12   community to predict what an administrator decides ‘resembles’ discrimination.” Dkt. # 52 at

13   41.

14           For these reasons, the Court also rejects Plaintiff’s vagueness challenge. 13
15

16

17

18

19

20           13
                 “‘In dismissing for failure to state a claim, a district court should grant leave to amend even if
     no request to amend the pleading was made, unless it determines that the pleading could not possibly be
21   cured by the allegation of other facts.’ Doe v. United States, 58 F.3d 494, 497 (9th Cir. 1995) (citation
     omitted).” Ebner v. Fresh, Inc., 838 F.3d 958, 963 (9th Cir. 2016). A district court must grant leave to
22   amend unless one or more of these factors are present: (1) undue delay, (2) bad faith or dilatory motive,
     (3) repeated failure to cure deficiencies by amendment, (4) undue prejudice to the opposing party, or (5)
     futility of amendment. Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003) (citing
23   Foman v. Davis, 371 U.S. 178, 182 (1962)). Here, amendment would be futile. This order bases its
     analyses of the facial overbreadth and vagueness challenges on the terms of EO 31. Amending the
24   pleadings would not alter the Court’s determination. Plaintiff does not argue otherwise.
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 1   B.      Cross Motions for Summary Judgment 14

 2           Summary judgment is proper if the evidence, viewed in the light most favorable to the
 3   non-moving party, shows “that there is no genuine dispute as to any material fact and the movant
 4   is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477
 5   U.S. 317, 322 (1986). A fact is material if it might affect the outcome of the suit. Anderson v.
 6   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
 7
             The moving party bears the initial burden of showing “the absence of a genuine issue of
 8
     material fact.” Celotex Corp., 477 U.S. at 323. If that burden is met, the burden shifts to the
 9
     nonmoving party to show there is a genuine issue for trial. F.T.C. v. Stefanchik, 559 F.3d 924,
10
     927–28 (9th Cir. 2009). When the nonmoving party fails “to make a sufficient showing on an
11
     essential element of [their] case with respect to which [they] ha[ve] the burden of proof,” “the
12
     moving party is entitled to judgment as a matter of law.” Celotex Corp., 477 U.S. at 323. On
13
     cross motions, a court must “evaluate each motion separately, giving the nonmoving party in
14
     each instance the benefit of all reasonable inferences.” A.C.L.U. of Nevada v. City of Las Vegas,
15
     466 F.3d 784, 790–91 (9th Cir. 2006); Flores v. City of San Gabriel, 824 F.3d 890, 897 (9th Cir.
16
     2016); Tulalip Tribes of Washington v. Washington, 783 F.3d 1151, 1156 (9th Cir. 2015)
17
     (“[W]hen simultaneous cross-motions for summary judgment on the same claim are before the
18
     court, the court must consider the appropriate evidentiary material identified and submitted in
19
     support of both motions, and in opposition to both motions, before ruling on each of them.”
20

21

22

23           14
               Given the Court’s rulings on Defendants’ motion to dismiss, the only remaining issues at
     summary judgment stage include Plaintiff’s First Amendment retaliation claims and viewpoint
24   discrimination claims.
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 1   (quoting Fair Hous. Council of Riverside Cnty., Inc. v. Riverside Two, 249 F.3d 1132, 1134 (9th

 2   Cir. 2001))).

 3          At oral argument, the parties stated that there are no material facts in dispute and that the
 4   Court should grant summary judgment for one side or the other. Dkt. # 87 at 23–24, 25.
 5
            1.       Plaintiff’s First Amendment retaliation claim
 6
            As explained above, “[i]n order to state a claim against a government employer for
 7
     violation of the First Amendment, an employee must show (1) that he or she engaged in
 8
     protected speech; (2) that the employer took ‘adverse employment action’; and (3) that his or her
 9
     speech was a ‘substantial or motivating’ factor for the adverse employment action.” Coszalter,
10
     320 F.3d at 973; see also Hodge, 2014 WL 12776507, at *5.
11

12          There is no genuine issue of material fact relating to whether Plaintiff’s speech “related to

13   scholarship or teaching.” See Dkt. # 60; Dkt. # 64. Thus, as noted above, such speech is

14   governed by Pickering v. Board of Education. Supra section III.A.1.a.

15
            As discussed above, the first step in Pickering “is to determine whether it addressed a
16
     matter of public concern.” Demers, 746 F.3d at 415. The second step requires a court to
17
     consider whether “the interest of the State, as an employer, in promoting the efficiency of the
18
     public services it performs through its employees” outweighs “the interests of the teacher, as a
19
     citizen, in comment upon matters of public concern.” Pickering, 391 U.S. at 568.
20
            As explained above, it does not appear that either side contests that Plaintiff’s speech was
21
     on a matter of public concern. Supra section III.A.1.b.(1). And the Court concludes that it did
22
     address a matter of public concern.
23

24
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 1          “Once a plaintiff shows that his or her statements were of public concern, the burden

 2   shifts to the defendant to show that, under the Pickering balancing test, its legitimate

 3   administrative interests in regulating the speech outweigh the plaintiff’s First Amendment

 4   rights.” Hodge, 2014 WL 1277650, at *9 (citing Bauer, 261 F.3d at 784. The balancing issue

 5   “‘is one of law and a determination is to be made by the court.’” Id. (quoting Cochran, 222 F.3d

 6   at 1200). This involves “‘a fact-sensitive and deferential weighing of the government’s

 7   legitimate interests’ as employer against the First Amendment rights of the employee.” Dodge v.

 8   Evergreen Sch. Dist. #114, 56 F.4th 767, 781 (9th Cir. 2022) (quoting Riley’s Am. Heritage

 9   Farms v. Elsasser, 32 F.4th 707, 720 (9th Cir. 2022)). Here, the balance tips in favor of

10   Defendants.

11
            “‘[P]romoting workplace efficiency and avoiding workplace disruption’ is a valid
12
     government interest that can justify speech restrictions.” Id. (quoting Hufford v. McEnaney, 249
13
     F.3d 1142, 1148 (9th Cir. 2011)). And “[w]hether speech disrupted the workplace is fact-
14
     specific and depends on the manner, time, and place in which the employee’s speech took place.”
15
     Id. (internal quotation marks and citation omitted); see also Rankin v. McPherson, 483 U.S. 378,
16
     388 (1987) (“In performing the [Pickering] balancing, the statement will not be considered in a
17
     vacuum; the manner, time, and place of the employee’s expression are relevant, as is the context
18
     in which the dispute arose.”). The Supreme Court has explained that an employer need not
19
     “allow events to unfold to the extent that the disruption of the office and the destruction of the
20
     working relationships is manifest before taking action.” Connick v. Myers, 461 U.S. 138, 152
21
     (1983). Indeed, speech can be disruptive when “[there are] ‘reasonable predictions of disruption
22
     in the workplace.” Dodge, 56 F.4th at 782.
23

24
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 1             But the Supreme Court has cautioned that “a stronger showing may be necessary if the

 2   employee’s speech more substantially involved matters of public concern.” Connick, 461 U.S.

 3   at 152.

 4             Disruption may be a valid government interest because it
 5
               “impairs discipline by superiors or harmony among co-workers, has a detrimental
 6             impact on close working relationships for which personal loyalty and confidence
               are necessary, or impedes the performance of the speaker’s duties or interferes with
 7             the regular operation of the enterprise.”

 8   Dodge, 56 F.4th at 782; see also Rankin, 483 U.S. at 388.

 9             Defendants outline three categories of disruption. Dkt. # 64 at 12–13; see also Dkt. # 77
10   at 18. First, they say that “the disruption caused by Reges’s actions interfered with University
11   staff functions.” Dkt. at 77 at 18; see also Dkt. # 64 at 12. Second, they say, “[t]eaching
12   assistants also experienced the disruption Reges caused.” Dkt. # 77 at 19; see also Dkt. # 64 at
13   12. Third, they say that Reges’s statement “caused a disruption for his students and the
14   University community generally.” Dkt. # 77 at 19; see also Dkt. # 64 at 12–13.
15
                      a.      University staff functions
16
               Defendants argue that Reges’s actions “‘impair[ed] … harmony among co-workers’” and
17
     “‘interfere[d] with the regular operation of’ the Allen School.” Dkt. # 77 at 19 (quoting Rankin,
18
     483 U.S. at 388). Defendants highlight that “Director Balazinska learned that staff were ‘at a
19
     loss for how to best express their concern and frustration about this situation,’ and worried about
20
     the effect on prospective students.” Dkt. # 77 at 18 (citing Dkt. # 66 at 26); See also Dkt. # 64 at
21
     12 (also citing Dkt. # 66 at 26). But the Ninth Circuit has recognized that “given the nature of
22
     academic life, especially at the college level, it [is] not necessary that [a faculty] and the
23
     administration enjoy a close working relationship requiring trust and respect[.]” Bauer v.
24
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 1   Sampson, 261 F.3d 775, 785 (9th Cir. 2001); see also Hodge, 2014 WL 12776507, at *10 (“the

 2   Court notes the Ninth Circuit’s determination in Bauer that a ‘close working relationship’ is not

 3   necessary at the university level.”).

 4              Dodge sheds additional light on this issue. 56 F.4th 767 (9th Cir. 2022). The case
 5   concerned a middle school teacher who wore a “Make America Great Again” cap at several
 6   teacher-only trainings. Id. at 772. The principal contended that “her interest in preventing
 7   disruption among the staff . . . outweighed [plaintiff’s] right to free speech.” Dodge, 56 F.4th at
 8   782. The principal “point[ed] to evidence that teachers and staff felt ‘intimidated,’ ‘shock[ed],’
 9   ‘upset,’ ‘angry,’ ‘scared,’ ‘frustrated,’ and ‘didn’t feel safe’ after learning about” the teacher’s
10   conduct. Id. The court, however, did not find evidence of emotional reactions to plaintiff’s
11   conduct to show disruption of “‘the regular operation’ of the school[.]” Dodge, 56 F.4th at 782
12   (quoting Nunez v. Davis, 169 F.3d 1222, 1229 (9th Cir. 1999)).
13
                Given the case law on this point, evidence of co-workers “concern and frustration” about
14
     Plaintiff’s statement does not serve to tilt the balance in Defendants’ favor.
15
                But Defendants also highlight that “[t]he Allen School’s recruiter for diversity and access
16
     expressed frustration in a letter that Reges had undermined [their] function within the School,”
17
     Dkt. # 64 at 12 (citing Dkt. # 66 at 31). This letter was sent to Defendant Balazinska and states,
18
     in part,
19

20              [M]y position was created around the goal of creating diverse classroom spaces that
                allow for rich discussion. The Allen School has explicitly stated goals of
21              incorporating indigenous ways of knowing into the curriculum. Additionally, with
                the creation of my position we are seeking to increase our recruitment of native
22              students. How am I supposed to recruit students into an environment where their
                history is questioned and their rights are denied? I do not feel comfortable bringing
23              students into a school where their introductory courses are taught in a way that is
                not conducive to learning. Mr. Reges’s Land Acknowledgment Statement is
24              attributable to the university as it is being forced on students in a required course
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 1          taught by a faculty member that we are paying to teach there. If Mr. Reges is
            allowed to continue to teach, and to distribute his land acknowledgement statement
 2          in a paper form where students will be required to see it, the university is essentially
            supporting his believes and agreeing that they belong in an introductory computer
 3          science course.
     Dkt. # 66 at 31.
 4

 5          Plaintiff argues that this letter presents a “speculative ill” that “cannot generate a

 6   government interest under Pickering.” Dkt. # 75 at 30–31 (quoting Liverman v. City of

 7   Petersburg, 844 F.3d 400, 408–09 (4th Cir. 2016) (citing Connick, 461 U.S. at 152). But as

 8   explained above, an employer need not “allow events to unfold to the extent that the disruption

 9   of the office and the destruction of the working relationships is manifest before taking action.”

10   Connick, 461 U.S. at 152. And, as illustrated below, UW believed that Plaintiff’s statement was

11   indeed interfering with the learning of many students, including Native American students. Infra

12   section III.B.1.c. For example, multiple Native American students expressed feelings of being

13   targeted by the statement, and one felt compelled to drop out of UW. Infra section III.B.1.c. A

14   goal of the Allen School is to increase recruitment of Native students. Dkt. # 66 at 31; Dkt. # 87

15   at 7 (Counsel explained that the suggested statement “was produced as a part of a broader policy

16   to create an inclusive and welcome learning environment for all students, including Native

17   American students. And the Allen School, and the University more generally, have been

18   concerned for a long time about increasing the number of Native American students at the

19   University and in the Allen School and in helping them successfully complete the program.”).

20   The school created the position of Recruiter for Diversity and Access in part to pursue this goal.

21   Dkt. # 66 at 31. Thus, the Court concludes that this evidence shows that Plaintiff’s statement

22   interfered “with the regular operation of the enterprise.” Nunez, 169 F.3d at1228 (quoting

23   Rankin, 483 U.S. at 388, 107 S.Ct. 2891).

24
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 1                   b.      Teaching assistants

 2           Defendants point to an email sent to Defendant Balazinska from UAW 4121 union
 3   representatives, representing CSE academic student employees (ASEs), expressing concerns
 4   from teaching assistants who “no longer feel comfortable mentioning their own views on topics
 5   related to land acknowledgements and DEI, for fear of retaliation from Stuart Reges.” Dkt. # 66
 6   at 33. The email says that the representatives “have heard from other ASEs whose feelings of
 7   belonging in the Allen School have been negatively impacted by the fact that Stuart Reges’s
 8   behavior has been allowed to continue.” Id. 15 In this same email, the UAW 4121
 9   representatives expressed their view that Plaintiff’s speech violated Article 20: Non-
10   Discrimination and Harassment of the collective bargaining agreement and that Plaintiff’s speech
11   “goes against the Allen School’s commitment to ‘create an inclusive environment for people of
12   all backgrounds.’” Dkt. # 66 at 33. And they requested that UW “take prompt action to
13   address this behavior, to align with both Article 20 of the contract and the Allen School’s
14   stated commitment to Diversity, Equity, and Inclusion.” Id. at 34 (emphasis in original). 16
15   Clearly, Plaintiff’s speech caused disruption with respect to teaching assistants.
16

17

18

19
             15
                 Defendants also assert that, in a deposition, “Reges admit[ted] that some teaching assistants
20   ‘were offended’ by his land acknowledgement, and that the situation damaged the cohesiveness of the
     teaching assistant program.” Dkt. # 77 at 19 (citing Dkt. # 65 at 124:7-14); see also Dkt. # 64 at 12 (also
21   quoting Dkt. # 65 at 54). But this portion of the deposition includes Reges’s acknowledgment that the
     splitting of the class and the statement likely caused the disruption.
22
              16
                 Plaintiff argues that had this email been a “legitimate union grievance, they would have
     followed the process required by their contract. See UAW Academic Student (ASEs) Contract, Univ. of
     Wash., § 4 https://hr.uw.edu/labor/academic-and-student-unions/uaw-ase/ase-contract (last visited Jan.
23   30, 2024) (describing grievance procedure with strict time limits and arbitration requirement).” Dkt. # 80
     at 16. The Court disagrees and views the email as like a demand letter, raising the specter of a grievance
24   if prompt action were not taken.
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 1                    c. Students and UW community

 2             Defendants assert that Reges’s statement “had a ‘detrimental impact’ on the student-
 3   faculty relationship for which, ‘confidence’ is necessary.” Dkt. # 64 at 13 (citing Rankin, 483
 4   U.S. at 388).
 5
               Defendants state that Plaintiff’s statement went viral on Reddit. Dkt. # 77 at 19 (citing
 6
     Dkt. # 65 at 41, 45); see also Dkt. # 64 at 12 (also citing Dkt. # 65 at 41). But this alone merely
 7
     shows discussion of the statement outside the classroom.
 8
               Defendants also highlight that “Director Balazinska learned that at least one student in
 9
     the class felt ‘intimidated’ and not ‘welcome’ in a required course for the major.” Dkt. # 77 at
10
     19 (citing Dkt. # 66 at 15); see also Dkt. # 64 at 12 (also citing Dkt. # 66 at 15). This complaint
11
     states,
12

13             I am concerned about several things that have come to my attention on the first day
               of winter quarter as a student starting class with this professor. The main thing that
14             drew my attention was the ‘Indigenous Land Acknowledgment’ section of the
               syllabus which starkly contradicts the university’s land acknowledgment and seems
15             to be purposefully contradictory of it. After further research, I have found an article
               written by professor Reges, titled ‘Why Women Don’t Code’ which I honestly have
16             not been able to fully read because it is very triggering. I am intimidated and already
               do not feel welcome in this class, nor do I feel like I will be supported and led to be
17             successful in this required course for my major.

18   Dkt. # 66 at 15.

19             And Defendants emphasize that “[s]ix student members of the Allen School Diversity

20   Committee complained.” Dkt. # 77 at 19 (citing Dkt. # 66 at 17–18); see also Dkt. #64 at 13

21   (also citing Dkt. # 66 at 17–18). This complaint says,

22
               We are deeply concerned about this offensive language, and particularly so because
23             it appears in the intro-to-CS course, where students, including those from under-
               represented indigenous communities, first encounter CS and the Allen School
24             culture. We call for immediate removal of this bigoted statement and replacing it
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 1           with a statement acknowledging the right of ingenious [sic] people to the land taken
             from them through years of colonialism.
 2   Dkt. # 66 at 17–18. The complaint also explains that Plaintiff’s statement
 3
             clearly contradicts the Allen School’s promise for creating an inclusive
 4           environment. We are very disappointed by the School’s inaction, especially
             because our requests and proposals for effective accountability mechanisms have
 5           been repeatedly dismissed. We believe lack of strict accountability is partly the
             reason that [Plaintiff] and others openly engage in harming other members of the
 6           community.
     Id. at 18.
 7

 8           Defendants also explain that, because of Plaintiff’s statement, “[a] Native student felt

 9   ‘despised[.]’” Dkt. # 77 at 19 (citing Dkt. # 66 at 20). This includes two emails from students—

10   one of whom was an Indigenous CS transfer student and the other from the student’s friend,

11   neither of whom were in Professor Reges’s class. Dkt. # 66 at 20. The first email states,

12
             I am native, queer, female-presenting individual, and let me tell you this whole
13           incident has made me feel so directly despised and unsafe that I’m certain if I hadn’t
             transferred in I wouldn’t be at the Paul Allen school right now, and I hate that. . . .
14           I’d like to do what I can to make sure no one else feels like I do right now ever
             again, nor give Stuart the opportunity to continue to make people like me, in any
15           facet, feel the same way as he undoubtedly has been.
     Id. at 20–21. The second email states that Plaintiff’s land acknowledgment statement “is deeply
16
     troubling to me as a student who looks to her chosen institution of higher education to be a space
17
     free from discrimination.” Id. at 21. The email explains,
18

19           The statement itself and the placement within the syllabus are openly alienating of
             Indigenous students. A syllabus is one of the first things new students see when
20           coming into a class – this syllabus sends a clear message that Indigenous students
             are not welcome in Professor Reges’s classroom and that similar rhetoric
21           disparaging of Indigenous peoples will be tolerated within a space where all
             students should be safe and respected.
22   Id. This student continues by expressing that “such a statement gives me serious doubts as to his
23   commitment to providing an equal playing field for all students” and
24
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 1           [c]ompounding this, Professor Reges wrote the greater portion of text and
             curriculum for CSE 143, a well-known filter course for Allen School admission
 2           which he frequently teaches. His rhetoric and frankly racist attitude within this
             setting pose a significant systemic barrier to the safety, equality, and education of
 3           Indigenous peoples within the Allen School.
     Id. at 22.
 4

 5           Defendants also explain that “[o]ne Native American student fe[lt] compelled to drop out

 6   of the University” and “[m]ultiple Native American students express[ed] the view that the

 7   inclusion of the statement on [Plaintiff’s] syllabus made them feel that they were being targeted

 8   in a manner that would disadvantage them in their education.” 17 Dkt. # 67 at 15. And notes

 9   from a committee meeting state that another student felt Plaintiff was “‘playing games with her

10   education.’” Dkt. # 69 at 5. These notes also indicate that Professor Eric Schnapper described

11   the level of disruption caused by Plaintiff’s statement as “extraordinary.” Id. Moreover,

12   Defendants point to evidence that “[a] student opined that Reges’s statement ‘tarnishes the

13   reputation of the Allen School.’” Dkt. # 77 at 19 (quoting Dkt. # 66 at 17 18); see also Dkt. # 64

14   at 13 (also quoting Dkt. # 66 at 17).

15
             Finally, Defendants emphasize that 170 students out of around 500 students switched to
16
     the alternative class in Winter 2022, which started at eight o’clock in the morning. Dkt. # 77 at
17

18
             17
                  Defendants cite Dkt. # 67 at 15 for the assertion that one Native student took a leave of absence
19   as a result of Plaintiff’s speech. Plaintiff objects to this document on hearsay grounds. The Court does
     not consider this evidence for the truth of the matter asserted— the leave of absence. But the document—
20   a letter from Defendant Allbritton to Plaintiff—is otherwise reflective of the University’s understanding
     of disruption caused by Plaintiff’s speech.
21
               18
                  This complaint was received through the Allen School’s “Anonymous Student Feedback”
     system and states, “This sort of factually wrong, intentionally inflammatory, and trauma-mocking
22   statement tarnishes the reputation of the Allen School. Departmental administration should address this
     statement, say that it is unacceptable, and work to make our climate actually a welcoming place for
     Indigenous student. This could include changing instruction personnel for this course. Having a professor
23   like this, with a history of misogynistic and racist statements, and who places statements like this in their
     course policies, signals an environment in our department which I do not think aligns with our
24   department’s goals of being inclusive.”
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 1   19 (citing Dkt. # 65 at 51; see also Dkt. # 64 at 13 (also citing Dkt. # 65 at 51); Dkt. # 75 at 31;

 2   Dkt. # 69 at 6. Plaintiff counters that the “undisputed facts show only one of Reges’s students

 3   expressed an intent to switch to the new section because she took offense to Reges’s

 4   statement[.]” Dkt. # 75 at 31 (citing his own motion for summary judgment, Dkt. # 60, which

 5   cites Dkt. # 62-6 at 56 19). Plaintiff also argues that because UW failed to investigate why a

 6   student would want to switch to the alternative section, the number of students who switched

 7   cannot be used to support Defendants’ argument of disruption. Dkt. # 60 at 17 (citing Dkt. #62-

 8   24 at 22 20). Plaintiff argues that the evidence shows that UW received emails from students

 9   asking if the alternative section would “have more favorable testing, grading, and homework

10   resubmission policies.” Id. (citing Dkt. ## 62-22; 62-26 at 3; 62-24). But the very evidence

11   Plaintiff cites—an email thread including the professor teaching the alternative session and

12   Defendant Balazinska—clarifies that, in the alternative section, there would not be a change in

13   the grading system:

14           I think having two offerings of CSE 143 with different grading systems provides
             too much incentive for students to switch for the wrong reasons. I think to keep
15           things as straightforward as possible is to say we will be using a grading system
             consistent with the current offering of CSE 143. Maybe Magda or I could send a
16           follow-up message clarifying that most grading details will be similar to the current
             offering of CSE 143?
17
     Dkt. # 62-26 at 3. A follow-up email was then sent to students. Id. at 2.
18

19

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             19
                   This document includes portions of Defendant Balzinska’s deposition in which she stated that
21   one student in the Winter Quarter told her she intended to drop the class because of Plaintiff’s statement.
     Dkt. # 62-6 at 56. Defendant Balazinska said that she “did not talk with other students” that same
22   evening. Id. at 57. She shared that in her “experience . . . even if there’s one student who drops the class
     . . ., out of the size of the class, there’s probably going to be other students.” Id.
                20
                   This citation is to the deposition of Defendant Grossman, who testified that the UW did not
23   inquire into why someone was switching to the alternative section: “Out of fairness, if we set up the
     alternate offering, we’ll email everyone in the class and make it available, right? We’re not going to –
24   there’s not going to be a – you know, a bar to clear or a box to check or a reason to give.”
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 1          While offense alone does amount to a legitimate interest to justify limiting speech,

 2   mitigating interference with students’ studies and ability to learn can be such an interest.

 3          For example, in Hodge, the Central District of California addressed a First Amendment
 4   retaliation claim brought by a professor. 2014 WL 12776507, at *4. The case involved a
 5   professor who taught emergency medical technology and prepared students for the National
 6   Registry exam and to work in the field as first responders. Id. at *1. After the Dean of Health
 7   Science at the school observed one of plaintiff’s classes for a formal performance evaluation, she
 8   reported that,
 9
            [p]laintiff referred to various cultural practices, such as the eating of placentas from
10          women who have just given birth, as ‘weird’ practices. . . . In describing other
            “weird” practices, Plaintiff incorrectly referred to the practice of “coining”—where
11          heated coins are placed on the bodies of ill individuals in an attempt to heal them—
            as “burning.” . . . Plaintiff also told his students, as he raised his hands over his
12          head, wiggled his fingers, and spoke in a high-pitched voice, that they might
            encounter “witch stuff” in the field[.]
13
     Id. at *2 (internal citations omitted). The Dean prepared an observation report that stated,
14
     “Plaintiff’s ‘tone, gestures and use of language was inappropriate and disrespectful to the cultural
15
     beliefs of patients.’” Id. The report also mentioned that the plaintiff should use “‘neutral tone,
16
     gestures, and descriptive, respectful language when discussing cultural beliefs.’”
17
     Id. Additionally, the plaintiff received a “needs improvement” rating in the “sensitivity to
18
     diversity” section of his Tenured Faculty Evaluation Report. Id. The court concluded that the
19
     balance of interests weighed in plaintiff’s favor. Id. at *9–11. The court explained that,
20
            Defendants have not proffered any convincing evidence that the speech had any
21          significant negative impact on Plaintiff’s teaching or other professional
            responsibilities. . . . While Defendants do present evidence of two students who
22          dropped [p]laintiff’s class in 2006, these events far preceded the incidents in
            question. . . . Moreover, none of the students in [p]laintiff’s April 2010 class
23          complained about his comments or conduct to Defendant[.] . . . Nor have these
            students complained that [p]laintiff’s comments interfered with their ability to learn
24          in the class.
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 1   Id. at *10 (emphasis added).

 2          By contrast, here, Defendants do present such evidence. UW administrators received
 3   reports of students, including Native students, feeling “unwelcome” and “intimidated” in the
 4   course, feeling “despised,” feeling “targeted,” with one dropping out of school. See supra
 5   III.B.1.c. And around 30% of students transferred to the alternate section. Id. Thus, unlike in
 6   Hodge, Defendants have provided evidence of interference with students’ “ability to learn in the
 7   class.” Hodge, 2014 WL 12776507, at *10; see also Dodge, 56 F.4th at 783 (suggesting student
 8   complaints may illustrate disruption when it pointed out that the plaintiff’s expression did not
 9   “cause any disruption to school” as “[n]o students or parents ever complained about [plaintiff’s]
10   MAGA hat”).
11
            It is true that “‘[t]he desire to maintain a sedate academic environment, to avoid the
12
     discomfort and unpleasantness that always accompany an unpopular viewpoint,’ is not an
13
     interest sufficiently compelling . . . to justify limitations on a teacher’s freedom to express”
14
     themselves. Adamian v. Jacobsen, 523 F.2d 929, 934 (9th Cir. 1975). But when a speaker’s
15
     statement “impedes the performance of the speaker’s duties or interferes with the regular
16
     operation of the enterprise[,]” the court may restrict said speech. Rankin, 483 U.S at 388.
17
            Here, Plaintiff’s speech was made in the syllabus for an introductory computer science
18
     introductory course, which is mandatory for certain majors in the Allen School. Dkt. # 66 at 31;
19
     Rankin, 483 U.S. at 388 (the court must consider the time, place, and manner in which the speech
20
     took place.). And Plaintiff was informed that he could have made his speech in various other
21
     settings, including by including the acknowledgment next to his faculty office door, at the
22
     bottom of his emails, and by discussing with colleagues—all of which he did with no limitation
23
     by UW. Dkt. # 65 at 25, 26, 43–44, and 46. The evidence here indicates actual and reasonably
24
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 1   anticipated disruption of staff functions, teaching assistant cohesiveness, and students’ learning

 2   environment resulting from Plaintiff’s own acknowledgment statement in the syllabus. It

 3   indicates that the statement interfered with the performance of Plaintiff’s duties as an instructor.

 4   Because “‘promoting workplace efficiency and avoiding workplace disruption’ is a valid

 5   government interest that can justify speech restrictions,” Dodge, 56 F.4th at 781, the Court

 6   concludes Defendants’ interests in mitigating disruption outweighs Plaintiff’s interest here, see

 7   Pickering, 391 U.S. at 568. 21

 8           2.      Plaintiff’s viewpoint discrimination claim
 9
             As explained above, supra section III.A.2., Plaintiff’s viewpoint discrimination claim
10
     also undergoes the Pickering balancing test. See Berry, 447 F.3d at 650; Cochran, 289 F. Supp.
11
     3d at 1293–94. Because the Court finds that Defendants’ interests in mitigating disruption to
12
     ensure the efficiency of the Allen School’s operations outweighs Plaintiff’s interests,
13
     Defendant’s viewpoint discrimination claim fails.
14
                                                         IV
15
                                                   CONCLUSION
16
             For these reasons, the Court:
17

18           (1)     DENIES Defendants’ motion to dismiss as to Plaintiff’s retaliation claim. Dkt. #

19                   50 at 11–20.

20           (2)     DENIES Defendants’ motion to dismiss as to Plaintiff’s viewpoint discrimination

21                   claim. Id. at 20–22.

22

23           21
               Plaintiff also asserts that several actions taken by UW in response to his statements constitute
     Adverse Employment Actions (AEA) for his First Amendment retaliation claim. Dkt. # 60 at 30–31.
24   Given the conclusions above, the Court need not reach this issue.
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 1         (3)    GRANTS Defendants’ motion to dismiss as to Plaintiff’s facial overbreadth

 2                challenge to EO 31. Id. at 22–25. The claim is dismissed with prejudice.

 3         (4)    GRANTS Defendants’ motion to dismiss as to Plaintiff’s facial vagueness

 4                challenge to EO 31 with prejudice. Id. at 26–28. The claim is dismissed with

 5                prejudice.

 6         (5)    GRANTS Defendants’ motion for summary judgment as to Plaintiff’s retaliation

 7                claim. Dkt. # 64 at 11–15.

 8         (6)    GRANTS Defendants’ motion for summary judgment as to Plaintiff’s viewpoint

 9                discrimination claim. Id. at 20–22.

10         (7)    DENIES Plaintiff’s motion for summary judgment. Dkt. # 60.

11         Dated this 3rd day of May, 2024.
12

13                                                      John H. Chun
                                                        United States District Judge
14

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